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                                    Cash Management Improvement Act Agreement
                                                       between
                                                The State of New York
                                                         and
                                            The Secretary of the Treasury,
                                       United States Department of the Treasury

    The Secretary of the Treasury, United States Department of the Treasury (hereafter 'Secretary'), and State of New York (hereafter
    'State'), in order to implement Section 5 of the Cash Management Improvement Act of 1990, as amended (hereafter 'Act'), agree
    as follows:

   1.0 AGENTS OF THE AGREEMENT

    1.1 The Authorized Official(s) for the State of New York shall be the Chief Budget Examiner heading the General Government and
    Workforce Unit of the Division of the Budget in all matters concerning this Agreement.

    1.2 The Assistant Commissioner, Revenue Collections Management, Bureau of the Fiscal Service (Fiscal Service), U.S.
    Department of the Treasury, shall act as the Secretary's representative in all matters concerning this Agreement.

   2.0 AUTHORITY

    2.1 The authority for this Agreement is the Cash Management Improvement Act of 1990 (Public Law 101-453), as amended by
    the Cash Management Improvement Act of 1992 (Public Law 102-589), codified at 31 U.S.C. 6501 and 31
    U.S.C. 6503.

    2.2 The regulations codified at 31 CFR Part 205 shall apply to all matters pertaining to this Agreement, and are incorporated
    herein by reference. In the event of any inconsistency between this Agreement and 31 CFR Part 205, the regulations shall govern.

   3.0 DURATION, AMENDING, TERMINATING, AND MISCELLANEOUS PROVISIONS

    3.1 This Agreement shall take effect on 04/01/2023 and shall remain in effect until 06/30/2024.

    3.2 This Agreement may be amended at any time by written, mutual consent of the State and the Fiscal Service. This Agreement shall
    be amended annually to incorporate new programs that qualify as major Federal assistance programs and remove programs that no
    longer qualify as major Federal assistance programs. A State must notify the Fiscal Service in writing within 30 days of the time the
    State becomes aware of a change that involves additions or deletions of programs subject to Subpart A, changes in funding
    techniques, and/or changes in clearance patterns. The notification must include a proposed amendment for review by the Fiscal
    Service.

    3.3 Notwithstanding section 3.2, in the event of Federal or State non-compliance with Subpart B of 31 CFR, Part 205, the Fiscal
    Service may amend this Agreement at any time to incorporate additional programs and the entities that administer those programs.

    3.4 This Agreement may be terminated by either party with 30 days written notice. If this Agreement is terminated, the Fiscal
    Service will prescribe the funding techniques, clearance patterns, and methods for calculating interest liabilities to be used by the
    State.


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   4.0 PROGRAMS COVERED

    4.1 The State's threshold and its major Federal assistance programs shall be determined based on the threshold calculation
    methodology contained in 31 CFR Part 205.5 and relevant expenditure data contained in the State's Single Audit for fiscal year
    ending 03/31/2022.

    All major Federal assistance programs shall be covered by this Agreement, unless otherwise specified in section 4.4 of this
    Agreement.

    4.2 The State's threshold for major Federal assistance programs is $345,891,055.

    The following programs meet or exceed the threshold and are not excluded in Section 4.4:

    CFDA                                                                Program Name
    10.542                                                              Pandemic EBT Food Benefits
    10.551                                                              Supplemental Nutrition Assistance Program
    10.555                                                              National School Lunch Program
    10.557                                                              Special Supplemental Nutrition Program for Women, Infants, and
                                                                        Children
    10.561                                                              State Administrative Matching Grants for the Supplemental
                                                                        Nutrition Assistance Program
    17.225F                                                             Unemployment Insurance -- Federal Benefit Account and
                                                                        Administrative Costs
    17.225S                                                             Unemployment Insurance -- State Benefit Account
    20.205                                                              Highway Planning and Construction
    84.010                                                              Title I Grants to Local Educational Agencies
    84.027                                                              Special Education -- Grants to States
    84.425                                                              Education Stabilization Fund
    93.558                                                              Temporary Assistance for Needy Families
    93.568                                                              Low-Income Home Energy Assistance
    93.575                                                              Child Care and Development Block Grant
    93.658                                                              Foster Care -- Title IV-E
    93.767                                                              Children's Health Insurance Program
    93.778                                                              Medical Assistance Program
    97.036                                                              Disaster Grants - Public Assistance (Presidentially Declared
                                                                        Disasters)

    4.3 The following programs fall below the State's threshold but have been required to be covered by Fiscal Service in
    accordance with the non-compliance provisions of Subpart B of 31 CFR Part 205:

    There are currently no programs listed for Section 4.3.

    4.4 The following programs exceed the State's threshold but have been excluded from coverage for the reason indicated:

    CFDA                                          Program Name                                  Exclusion Reason
    14.195                                        Section 8 Housing                             Non-State
    14.871                                        Section 8 Housing Choice Vouchers             Non-State
    21.019                                        Coronavirus Relief Fund                       Federal Statute - Full Exemption
    21.023                                        Emergency Rental Assistance Program           Federal Statute - Full Exemption
    21.027                                        Coronavirus State and Local Fiscal            Federal Statute - Full Exemption
                                                  Recovery Funds
    84.268                                        Federal Direct Student Loan                   Non-State
    93.498                                        Provider Relief Fund & American Rescue        Non-State
                                                  Plan (ARP) Rural Distribution
    93.640                                        Basic Health Program (Affordable Care         Federal Statute - Full Exemption
                                                  Act)

   5.0 ENTITIES COVERED

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    5.1 State agencies and instrumentalities that meet the definition of a State per 31 CFR Part 205, shall be subject to the terms of this
    Agreement. The following is a list of such entities that administer funds under the programs listed in Section
    4.0 of this Agreement:

     Department of Health
     Department of Labor
     Department of Transportation
     Division of Homeland Security and Emergency Services
     Division of Housing and Community Renewal
     Office of Children and Family Services
     Office of Temporary & Disability Assistance
     State Education Department

    5.2 Entities that meet the definition of a Fiscal Agent per 31 CFR Part 205 shall be subject to the terms of this Agreement. The
    following is a list of Fiscal Agents that administer funds under the programs listed in the Section 4.0 of this Agreement:

    Fiscal Agent                                   CFDA                                           Program Name
    Conduent, Inc.                                 10.542                                         Pandemic EBT Food Benefits
    Conduent, Inc.                                 10.551                                         Supplemental Nutrition Assistance
                                                                                                  Program
    Computer Sciences Corporation                  93.778                                         Medical Assistance Program

   6.0 FUNDING TECHNIQUES

    6.1 General Terms

    6.1.1 The State shall request Federal funds in accordance with the appropriate cut-off times shown in Exhibit I to ensure funds will
    be received and credited to a State account by the times specified in the funding techniques. Exhibit I is incorporated by reference
    herein.

    6.1.2 The State shall schedule the receipt of Federal funds such that the funds are received and credited to a State account in
    accordance with the clearance patterns specified in Exhibit II - List of State Clearance Patterns. Exhibit II is incorporated by
    reference herein.

    6.1.3 In instances where the receipt of funds is scheduled for a Saturday, the State shall request funds for deposit on Friday. In
    instances where the receipt of funds is scheduled for a Sunday, the State shall request funds for deposit on Monday. In instances
    where the receipt of Federal funds is scheduled for deposit on a day when the State is not open for business, the State shall request
    funds for deposit the day following the scheduled day; in instances where the receipt of Federal funds is scheduled for deposit on a
    day when the Federal Government is not open for business, the State shall request funds for deposit the day prior to the scheduled
    day.

    6.1.4 Estimates and Reconciliation of Estimates:
    Where estimated expenditures are used to determine the amount of the drawdown, the State will indicate in the terms of the State
    unique funding technique how the estimated amount is determined and when and how the State will reconcile the difference
    between the estimate and the State's actual expenditures.
    6.1.5 Supplemental Funding:
    Unless otherwise defined by program rules, Supplemental Funding is the award of additional funds to provide for an increase in
    costs due to unforeseen circumstances.

    The State will comply with all Federal program agency policies and procedures for requesting supplemental grant funding.



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    The State will comply with the following guidelines when requesting supplemental funding for the Medical Assistance Program
    and associated administrative payments (CFDA 93.778):

    The State must submit a revised Medicaid Program Budget Report (CMS-37) to request supplemental funding. The CMS guidelines
    and instructions for completing the CMS-37 are provided in Section 2600F of the State Medicaid Manual (SMM). The CMS/CO must
    receive the revised Form CMS-37 through the Medicaid Budget Expenditure System/Children's Budget Expenditure System
    (MBES/CBES) no later than 10 calendar days before the end of the quarter for which the supplemental grant award is being
    requested.

    Additional guidance on this policy is available from the respective CMS Regional Office, U.S. Department of Health & Human
    Services.

    The State will comply with the following guidelines when requesting supplemental funding for TANF (CFDA 93.558), CCDF
    (CFDA 93.575), CSE (93.563), and the FC/AA (CFDA 93.658 and CFDA 93.659) programs administered by the
    U.S. Department of Human Services, Administration for Children and Families (HHS/ACF):

    a. Timing of the Request
    A State should initiate its request for supplemental funding during a quarter as soon as it becomes aware of the fact that a shortfall
    does/will exist. For the TANF and CCDF grants, supplemental funding requests (estimates) may be submitted by a State, for
    consideration by ACF, up through and including the 15th day of the third month of the first, second or third quarter of any fiscal year.
    Since TANF and CCDF are block grant programs, all unawarded portions of the annual allotment will automatically be issued at the
    beginning of the fourth quarter. Therefore, supplemental funding requests will not be available during the fourth quarter for these
    programs. For the CSE and FC/AA programs, supplemental funding requests may be submitted by a state, for consideration by ACF,
    up through and including the 15th day of the third month of any quarter of a fiscal year.

    b. Justification for the Request
    The request for a supplemental funding for any of the above-mentioned programs should contain a justification clearly documenting
    the need for the additional funding authority during the current quarter. This documentation should be in the form of State accounting
    records or similar documents that will show the actual expenditures through the most recent month for which such data are available,
    as well as the State's most accurate projection of its anticipated expenditures during the remaining month(s) of the quarter. For either
    the TANF or the CCDF program, the State's justification should also include an explanation of the activities requiring the obligation
    and/or expenditure of amounts that exceed the normal quarterly grant award restrictions and why these activities could not have been
    delayed until the next quarter.

    c. Form Submittal
    Supplemental funding requests should be made by completing the appropriate ACF quarterly report of expenditures and estimates
    applicable to the particular program for which the grant award request is being made.

    d. Approval Process
    Upon receipt of the state's request for additional funding authority for a quarter, the ACF Regional Office will promptly review the
    supporting documentation. If the request is properly justified, so long as ACF has adequate funding availability, the State's request
    will be expedited and supplemental funding will be issued within 5 days of ACF receiving the request. The State will be notified by
    the Regional Office when the supplemental award has been transmitted to the Payment Management System (PMS) and when it
    may initiate drawdowns against the supplemental funding.

    Additional guidance on this policy is provided in the U.S. Department of Health & Human Services, Administration for Children
    and Families, letter (May 19, 2004) to State Administrators from the Deputy Assistant Secretary for Administration.

    6.2 Description of Funding Techniques

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    6.2.1 The following are terms under which standard funding techniques shall be implemented for all transfers of funds to which the
    funding technique is applied in section 6.3.2 of this Agreement.

    Funding Technique Name                          Description
    Actual Clearance, ZBA - ACH                     The State shall request funds such that they are deposited by ACH in a State account
                                                    on the settlement date of payments issued by the State. The request shall be made in
                                                    accordance with the appropriate Federal agency cut-off time specified in Exhibit I.
                                                    The amount of the request shall be for the amount of funds that clear the State's
                                                    account on the settlement date. This funding technique is interest neutral.
    Actual Clearance, ZBA - Same Day Payment        The State shall request funds the same day it pays out funds, in accordance with the
                                                    appropriate Federal agency cut-off time specified in Exhibit I. A Federal agency will
                                                    deposit funds in a State account the same day as requested. The amount of the request
                                                    shall be for the amount of funds that clear the State's account that day. This funding
                                                    technique is interest neutral.
    Estimated Clearance                             The State shall request funds such that they are deposited in a State account in
                                                    accordance with the clearance pattern specified in Exhibit II - EC (Estimated
                                                    Clearance). The request shall be made in accordance with the appropriate Federal
                                                    agency cut-off time specified in Exhibit I. The amount of each request will be a
                                                    percentage of the disbursement, according to the State's clearance pattern specified in
                                                    Exhibit II - EC. This funding technique is interest neutral.

    6.2.2 The following are terms under which funding techniques for administrative costs shall be implemented for all transfers
    of funds to which the funding technique is applied in section 6.3.2 of this Agreement.

    There are currently no funding techniques listed in Section 6.2.2.

    6.2.3 The following are terms under which miscellaneous funding techniques shall be implemented for all transfers of funds to
    which the funding technique is applied in section 6.3.2 of this Agreement.

    There are currently no funding techniques listed in Section 6.2.3.

    6.2.4 The following are terms under which State unique funding techniques shall be implemented for all transfers of funds to which
    the funding technique is applied in section 6.3.2 of this Agreement.


    Funding Technique Name                          Description
    Reimbursement (Employee Fringe Benefits         1. Employee Fringe Benefits - the State shall request funds biweekly. Requests shall
    and Indirect Costs)                             be made in accordance with the appropriate Federal Agency cutoff time specified in
                                                    Exhibit I. The amount of the request shall be determined by applying the fringe rate
                                                    developed pursuant to the terms of Federal grant programs to the actual biweekly
                                                    payroll. As described in Section 8.8 of this Agreement, this funding technique is
                                                    interest neutral.

                                                    2. Indirect Costs - the State shall request funds biweekly. Requests shall be made in
                                                    accordance with the appropriate Federal Agency cutoff time specified in Exhibit I.
                                                    The amount of the request shall be determined by applying the indirect rate developed
                                                    pursuant to program-specific indirect cost recovery plans that are approved by the
                                                    Federal agency responsible for program oversight to the actual biweekly payroll. As
                                                    described in Section 8.8 of this Agreement, this funding technique is interest neutral.
                                                    This funding technique is interest neutral.

    6.3 Application of Funding Techniques to Programs

    6.3.1 The State shall apply the following funding techniques when requesting Federal funds for the component cash flows of the
    programs listed in sections 4.2 and 4.3 of this Agreement.

    6.3.2 Programs

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    Below are programs listed in Section 4.2 and Section 4.3.

      10.542 Pandemic EBT Food Benefits
      Recipient: Office of Temporary & Disability Assistance
      % of Funds Agency Receives: 100
      Component: Non-Payroll
      Technique: Actual Clearance, ZBA - Same Day Payment
      Average Day of Clearance: 0 Days

      10.551 Supplemental Nutrition Assistance Program
      Recipient: Office of Temporary & Disability Assistance
      % of Funds Agency Receives: 100
      Component: Non-Payroll
      Technique: Actual Clearance, ZBA - Same Day Payment
      Average Day of Clearance: 0 Days

      10.555 National School Lunch Program
      Recipient: State Education Department
      % of Funds Agency Receives: 91
      Component: Non-Payroll
      Technique: Actual Clearance, ZBA - ACH
      Average Day of Clearance: 2 Days

      10.555 National School Lunch Program
      Recipient: Department of Health
      % of Funds Agency Receives: 9
      Component: Non-Payroll
      Technique: Actual Clearance, ZBA - ACH
      Average Day of Clearance: 2 Days

      10.557 Special Supplemental Nutrition Program for Women, Infants,
      and Children
      Recipient: Department of Health
      % of Funds Agency Receives: 96
      Component: Non-payroll
      Technique: Actual Clearance, ZBA - ACH
      Average Day of Clearance: 2 Days

      10.557 Special Supplemental Nutrition Program for Women, Infants,
      and Children
      Recipient: Department of Health
      % of Funds Agency Receives: 2
      Component: Payroll
      Technique: Actual Clearance, ZBA - ACH
      Average Day of Clearance: 2 Days

      10.557 Special Supplemental Nutrition Program for Women, Infants,
      and Children
      Recipient: Department of Health
      % of Funds Agency Receives: 2
      Component: Fringe Benefits and Indirect Costs
      Technique: Reimbursement (Employee Fringe Benefits and Indirect
      Costs)
      Average Day of Clearance: N/A

      10.561 State Administrative Matching Grants for the Supplemental
      Nutrition Assistance Program
      Recipient: Office of Temporary & Disability Assistance
      % of Funds Agency Receives: 94
      Component: Non-payroll
      Technique: Actual Clearance, ZBA - ACH

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      Average Day of Clearance: 2 Days

      10.561 State Administrative Matching Grants for the Supplemental
      Nutrition Assistance Program
      Recipient: Office of Temporary & Disability Assistance
      % of Funds Agency Receives: 2
      Component: Fringe Benefits and Indirect Costs
      Technique: Reimbursement (Employee Fringe Benefits and Indirect
      Costs)
      Average Day of Clearance: N/A

      10.561 State Administrative Matching Grants for the Supplemental
      Nutrition Assistance Program
      Recipient: Office of Temporary & Disability Assistance
      % of Funds Agency Receives: 3
      Component: Payroll
      Technique: Actual Clearance, ZBA - ACH
      Average Day of Clearance: 2 Days

      10.561 State Administrative Matching Grants for the Supplemental
      Nutrition Assistance Program
      Recipient: Department of Health
      % of Funds Agency Receives: 1
      Component: Non-payroll
      Technique: Actual Clearance, ZBA - ACH
      Average Day of Clearance: 2 Days

      17.225F Unemployment Insurance -- Federal Benefit Account and
      Administrative Costs
      Recipient: Department of Labor
      % of Funds Agency Receives: 0
      Component: Fringe Benefits and Indirect Costs
      Technique: Reimbursement (Employee Fringe Benefits and Indirect
      Costs)
      Average Day of Clearance: N/A

      17.225F Unemployment Insurance -- Federal Benefit Account and
      Administrative Costs
      Recipient: Department of Labor
      % of Funds Agency Receives: 99
      Component: Non-Payroll (Benefits)
      Technique: Actual Clearance, ZBA - Same Day Payment
      Average Day of Clearance: 0 Days

      17.225F Unemployment Insurance -- Federal Benefit Account and
      Administrative Costs
      Recipient: Department of Labor
      % of Funds Agency Receives: 1
      Component: Non-Payroll (Administrative)
      Technique: Actual Clearance, ZBA - ACH
      Average Day of Clearance: 2 Days

      17.225F Unemployment Insurance -- Federal Benefit Account and
      Administrative Costs
      Recipient: Department of Labor
      % of Funds Agency Receives: 0
      Component: Payroll
      Technique: Actual Clearance, ZBA - ACH
      Average Day of Clearance: 2 Days



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      17.225S Unemployment Insurance -- State Benefit Account
      Recipient: Department of Labor
      % of Funds Agency Receives: 100
      Component: Non-Payroll
      Technique: Actual Clearance, ZBA - Same Day Payment
      Average Day of Clearance: 0 Days

      20.205 Highway Planning and Construction
      Recipient: Department of Transportation
      % of Funds Agency Receives: 92
      Component: Non-Payroll
      Technique: Actual Clearance, ZBA - ACH
      Average Day of Clearance: 2 Days

      20.205 Highway Planning and Construction
      Recipient: Department of Transportation
      % of Funds Agency Receives: 3
      Component: Payroll
      Technique: Actual Clearance, ZBA - ACH
      Average Day of Clearance: 2 Days

      20.205 Highway Planning and Construction
      Recipient: Department of Transportation
      % of Funds Agency Receives: 5
      Component: Fringe Benefits and Indirect Costs
      Technique: Reimbursement (Employee Fringe Benefits and Indirect
      Costs)
      Average Day of Clearance: N/A

      84.010 Title I Grants to Local Educational Agencies
      Recipient: State Education Department
      % of Funds Agency Receives: 1
      Component: Payroll
      Technique: Actual Clearance, ZBA - ACH
      Average Day of Clearance: 2 Days

      84.010 Title I Grants to Local Educational Agencies
      Recipient: State Education Department
      % of Funds Agency Receives: 99
      Component: Non-Payroll
      Technique: Actual Clearance, ZBA - ACH
      Average Day of Clearance: 2 Days

      84.027 Special Education -- Grants to States
      Recipient: State Education Department
      % of Funds Agency Receives: 2
      Component: Fringe Benefits and Indirect Costs
      Technique: Reimbursement (Employee Fringe Benefits and Indirect
      Costs)
      Average Day of Clearance: N/A

      84.027 Special Education -- Grants to States
      Recipient: State Education Department
      % of Funds Agency Receives: 2
      Component: Payroll
      Technique: Actual Clearance, ZBA - ACH
      Average Day of Clearance: 2 Days

      84.027 Special Education -- Grants to States
      Recipient: State Education Department
      % of Funds Agency Receives: 96

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                                                           #: 8385
      Component: Non-Payroll
      Technique: Actual Clearance, ZBA - ACH
      Average Day of Clearance: 2 Days

      84.425 Education Stabilization Fund
      Recipient: State Education Department
      % of Funds Agency Receives: 100
      Component: Non-payroll
      Technique: Actual Clearance, ZBA - ACH
      Average Day of Clearance: 2 Days

      93.558 Temporary Assistance for Needy Families
      Recipient: Office of Temporary & Disability Assistance
      % of Funds Agency Receives: 100
      Component: Non-Payroll
      Technique: Actual Clearance, ZBA - ACH
      Average Day of Clearance: 2 Days

      93.568 Low-Income Home Energy Assistance
      Recipient: Office of Temporary & Disability Assistance
      % of Funds Agency Receives: 94
      Component: Non-payroll
      Technique: Actual Clearance, ZBA - ACH
      Average Day of Clearance: 2 Days

      93.568 Low-Income Home Energy Assistance
      Recipient: Division of Housing and Community Renewal
      % of Funds Agency Receives: 6
      Component: Non-payroll
      Technique: Actual Clearance, ZBA - ACH
      Average Day of Clearance: 2 Days

      93.575 Child Care and Development Block Grant
      Recipient: Office of Children and Family Services
      % of Funds Agency Receives: 1
      Component: Fringe Benefits and Indirect Costs
      Technique: Reimbursement (Employee Fringe Benefits and Indirect
      Costs)
      Average Day of Clearance: N/A

      93.575 Child Care and Development Block Grant
      Recipient: Office of Children and Family Services
      % of Funds Agency Receives: 1
      Component: Payroll
      Technique: Actual Clearance, ZBA - ACH
      Average Day of Clearance: 2 Days

      93.575 Child Care and Development Block Grant
      Recipient: Office of Children and Family Services
      % of Funds Agency Receives: 98
      Component: Non-Payroll
      Technique: Actual Clearance, ZBA - ACH
      Average Day of Clearance: 2 Days

      93.658 Foster Care -- Title IV-E
      Recipient: Office of Children and Family Services
      % of Funds Agency Receives: 100
      Component: Non-payroll
      Technique: Actual Clearance, ZBA - ACH
      Average Day of Clearance: 2 Days


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      93.767 Children's Health Insurance Program
      Recipient: Department of Health
      % of Funds Agency Receives: 99
      Component: Non-Payroll
      Technique: Actual Clearance, ZBA - ACH
      Average Day of Clearance: 2 Days

      93.767 Children's Health Insurance Program
      Recipient: Office of Temporary & Disability Assistance
      % of Funds Agency Receives: 1
      Component: Non-payroll
      Technique: Actual Clearance, ZBA - ACH
      Average Day of Clearance: 2 Days

      93.778 Medical Assistance Program
      Recipient: Department of Health
      % of Funds Agency Receives: 100
      Component: Non-Payroll
      Technique: Estimated Clearance
      Average Day of Clearance: N/A

      97.036 Disaster Grants - Public Assistance (Presidentially Declared
      Disasters)
      Recipient: Division of Homeland Security and Emergency Services
      % of Funds Agency Receives: 100
      Component: Non-Payroll
      Technique: Actual Clearance, ZBA - ACH
      Average Day of Clearance: 2 Days


    6.3.3 Materiality Exemptions

    Agencies exempt from coverage on the basis of materiality:

    None

   7.0 CLEARANCE PATTERNS

    7.1 The State shall develop separate clearance patterns for each of the following:

    Payments made from the State's non-payroll and payroll accounts and for the Medical Assistance Program (CFDA 93.778).

    7.2 The following shall develop the State's clearance patterns:

    Medical Assistance Program Clearance Pattern

    The New York State Department of Health calculates the Medical Assistance clearance pattern based upon check presentment data
    compiled by the State's contractor bank.

    Functional Clearance Patterns

    New York State develops functional clearance patterns based on 1) New York's Statewide Financial System records of State employee
    payroll checks and checks written to non-employees, and 2) from check presentment files maintained by the State's contractor bank.

    7.3 The sources of data the State shall use when developing its clearance patterns are as follows:

    See 7.11.0.

    7.4 The State shall use the following methodology when developing its clearance patterns:



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    When developing each clearance pattern, the State shall track at least 99% of the funds disbursed, from issuance to clearance, for a
    period of at least three months.

    7.5 The State shall identify for each check or warrant (hereafter, check) in the population: (1) the date the check was released
    for payment; (2) the date the check was debited from the State's account, and, (3) the amount of the check.

    7.6 The State shall use the following method to calculate the dollar-weighted average day of clearance:

    To determine the number of days each check was outstanding (clearance time), the issue date shall be subtracted from the date the
    check cleared the State's account.

    To determine the percentage of the disbursement paid out each day following issuance, the amount of the checks that clear the
    State's account each day shall be summed and then divided by the amount of the total disbursement.

    For each day following issuance, the clearance time of the checks paid out that day shall be multiplied by the percentage of the total
    disbursement those checks represent. This product is the clearance factor.

    The dollar-weighted average day of clearance for the disbursement shall be determined by summing the clearance factor of each day
    following the disbursement.

    7.7 The State shall adjust each clearance pattern to reflect the dollar-weighted proportion of funds paid out by EFT/Direct payroll,
    with the following exceptions:

    No exceptions.

    The State shall also adjust each clearance pattern to reflect:

    Not applicable.

    7.8 Each of the State's clearance patterns is calculated in Business days.

    7.9 An authorized State official shall certify that each clearance pattern developed by the State accurately corresponds to the
    clearance activity of the programs to which it is applied. This certification shall be provided to the Fiscal Service prior to the
    effective date of the Agreement. The State shall recertify its clearance patterns at least every five years.

    7.10 The State shall follow the procedures of 31 CFR 205 if it has actual or constructive knowledge, at any time, that a clearance
    pattern does not correspond to a program's clearance activity.

    7.11.0      Medical Assistance Program Clearance Pattern

                The State's Medical Assistance funding cycle comprises two separate disbursements. The two-disbursement
                cycle yields a two-part clearance pattern, each part depicting clearance activity of 100 percent of checks and
                electronic payments issued and cleared for that disbursement. In other words, the clearance pattern which
                illustrates clearance activity for a single cycle appears to total 200 percent of checks and electronic payments.

                The following description of the development of the Medical Assistance two-part clearance pattern relates to a
                detailed spreadsheet, prepared and updated as necessary by the Department of Health, which graphically depicts
                the two-part clearance pattern currently used to time the Medical Assistance drawdown. The spreadsheet will be
                provided to the Fiscal Service upon request.

                Exhibit II-EC of this Agreement reflects a variation of the State's two-part clearance pattern. One column of data
                from the spreadsheet reflects a recalculation of percentages whereby the two-part clearance pattern appears to
                total 100 rather than 200 percent of check and electronic payment clearance activity. This Exhibit approximates
                the State's two-disbursement funding cycle, although the data has been rounded to two decimal places, while the
                clearance pattern used to time the State's drawdown is actually carried out to four decimal places. The State will
                continue to use its more precise clearance pattern in calculating the amount of Medical Assistance funding to
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               draw down each day.

               The State shall use the following method to develop a programmatic clearance pattern for the Medical
               Assistance Program (CFDA 93.778):

               The State's contractor bank(s) which maintains the State's Medicaid Management Information System (MMIS)
               Fiscal Agent Account will provide the State each quarter with an encashed checks and electronic payments
               analysis reflecting clearance activity for the most recent four-quarter period. The data to be analyzed will
               constitute all checks and electronic payments dated and cashed during that four-quarter period, or almost 100
               percent of the dollar value of checks and electronic payments issued against the MMIS account.

               With the implementation of electronic payments in the State's Medical Assistance program, clearance time for
               program payments was reduced as providers enrolled to receive electronic payments (in lieu of checks). In order
               to accurately determine and document this expected change in clearance time, the State exercised the right to
               change from using the most recent 12 months of clearance activity data to using the most recent three months of
               clearance activity data, as permitted under 31 CFR 205.20(d). As a result, the clearance pattern reflects three
               months of clearance activity data.

               The encashed checks and electronic payments analysis will track check clearance activity over 31 calendar days.
               For each calendar day after check and electronic payments issuance, the analysis indicates: 1) the total number
               of checks and electronic payments paid, 2) the total dollar amount of checks and electronic payments paid, and
               3) the percent of the total dollar amount. Exhibit II-EC comprises a summary of the State's encashed checks and
               electronic payments analysis depicted in the clearance pattern spreadsheet.

               Since checks for nearly all of the State's weekly Medicaid payment cycles are printed with a Monday check date,
               it will be assumed that Day 00 (check issue date) of the encashed checks analysis is a Monday. Each subsequent
               day in the encashed checks analysis, it will be assumed, corresponds to the next day of the week (Day 01 is
               Tuesday, Day 02 is Wednesday, etc.). Exhibit II-EC and the clearance pattern spreadsheet illustrate how the days
               of the week correspond to the reported check activity.

               For electronic payments, payment files are sent to the Medicaid contractor bank on Wednesday with an effective
               transfer date of Thursday. In these instances, in order to maintain the integrity of the payment analysis,
               electronic payments will be reflected in the analysis for Day 03 for distressed facility payments and Day 17 for
               regular facility payments.

               The calendar day encashed checks analysis must be converted to a business day clearance pattern for scheduling
               drawdowns. However, data for six days correspond to either a Saturday or Sunday encashment. Consequently, to
               arrive at the business day clearance pattern, the State shall add a Saturday entry to the previous Friday's total and
               a Sunday entry to the subsequent Monday's total.

               The encashed checks analysis extends over 31 calendar days for two reasons: 1) There is a two-week payment
               lag for Medicaid checks; consequently most checks written on Day 00 are released on, and begin to clear the
               MMIS account on, Day 16 (the regular facility check release date); and 2) A small percentage of checks with a
               check date of 00 are released on Day 02 to certain distressed facilities (the distressed facility check release date).

               As a result, two distinct clearance patterns emerge: Clearance Pattern A -- Distressed Facility Checks, and
               Clearance Pattern B -- Regular Facility Checks. Since regular facility checks are not released until Day 16,
               Clearance Pattern A reflects checks issued only to distressed facilities. Almost 100 percent of those checks clear
               between Day 02 and Day 14. Clearance Pattern B reflects checks issued to regular facilities. Almost 100 percent
               of those checks clear between Day 16 and Day 31. The clearance pattern spreadsheet depicts these two clearance
               patterns.

               Therefore, the State shall apply two separate but contiguous clearance patterns in scheduling drawdowns under
               the weekly Medicaid payment cycle. Funds for all checks and electronic payments released to distressed
               facilities will be drawn according to the fixed percentages of Clearance Pattern A. Funds for all checks and
               electronic payments released to regular facilities will be drawn according to Clearance Pattern B.

               The resultant drawdown schedule will be as follows:

               For distressed facilities, the drawdown schedule will begin on Wednesday of Week 1 and conclude on
               Wednesday of Week 2, when outstanding funds for the distressed facility portion of the cycle will be drawn in

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                total.

                For regular facilities, the drawdown schedule will begin on Wednesday of Week 3 and conclude on Thursday of
                Week 5, when outstanding funds for the regular facility portion of the cycle will be drawn in total.
    7.11.1      Material changes in the clearance pattern associated with the Medical Assistance Program (CFDA 93.778):

                If the average dollar-weighted date of clearance of a new programmatic clearance pattern changes by more than
                .5 days from the average dollar-weighted date of clearance of the clearance pattern currently used to time the
                drawdown of program funding, or if a new programmatic clearance pattern otherwise undergoes changes that
                may affect clearance activity and this results in the need for a change in the timing of the drawdown of program
                funding, pursuant to 31 CFR 205.22 the State will inform Fiscal Service within 30 days of the change.
    7.11.2      Functional Clearance Patterns:

                The State shall use the following method to develop the clearance patterns for the functional payments and for
                the payroll bank account as noted in Section 7.1.

                At least at the end of every second State fiscal year, the State shall calculate dollar-weighted average clearance
                patterns based on the actual clearance time for each check issued and cleared during at least six consecutive
                months of the State fiscal year.

                The State shall provide its contractor bank(s) with a file of check numbers where federal funds have been used
                for payment. The State's contractor bank(s) maintains a file identifying the check number, amount, issue date,
                and clearance date of each check, and will compare issue dates to clearance dates to determine the clearance
                time, or days outstanding, of each check.

                The State's contractor bank(s) will produce check clearance pattern reports. The reports will group checks into
                10 dollar ranges, from checks of $1-$100 to checks over $5 million, and will identify for each dollar range: 1)
                total number of checks, 2) average days outstanding, in tenths of a day, and 3) average check amount. The bank
                shall calculate the dollar-weighted day of clearance for each dollar range by first multiplying the average days
                outstanding by the total dollars in each range to determine dollar-days. The bank shall then sum the dollar-days
                for the 10 ranges and divide that sum by total dollars for all ranges to arrive at a dollar-weighted clearance
                pattern for all checks issued and cleared. As the State expands direct deposit payments to municipalities and
                other payees, the related functional clearance pattern(s) and related components of the annual interest calculation
                will be modified accordingly.

                Since payroll checks are issued from a separate account, the State's contractor bank(s) can produce a payroll
                check clearance report without receiving a file from the State. The dollar-weighted payroll clearance pattern will
                be adjusted for payrolls processed through direct deposit.

                The State will provide and certify functional clearance patterns as part of each applicable Annual Report.
    7.11.3      Clearance Pattern Maintenance:

                The State shall redevelop the Medicaid clearance pattern, the non-payroll pattern, and the payroll clearance
                pattern every second year at a minimum, and under the conditions described in 31 CFR 205.22 using the
                methods described in this section of the Agreement.

   8.0   INTEREST CALCULATION METHODOLOGY

    8.1 General Terms

    8.1.1 The State and the Secretary agree that no interest liabilities will be incurred for transfers of funds made in accordance
    with the procedures specified in section 6 of this Agreement where the following funding techniques are applied:

     Actual Clearance, ZBA - ACH
     Actual Clearance, ZBA - Same Day Payment
     Estimated Clearance
     Reimbursement (Employee Fringe Benefits and Indirect Costs)

    8.1.2 The State shall maintain information on disbursements and receipts of funds to verify the implementation of any funding
    technique and document interest liabilities.

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    For each disbursement, the State shall be able to identify:
    (1) amount of the issuance
    (2) date of issuance
    (3) date Federal funds are received and credited to a State account
    (4) amount of Federal funds received
    (5) date funds were requested

    8.2 Federal Interest Liabilities

    8.2.1 A Federal interest liability shall accrue from the day the State pays out its own funds for program purposes to the day Federal
    funds are credited to a State account. With regard to funds transferred out of the Federal Highway Trust Fund, if a State does not bill
    at least weekly for current project costs, the Federal interest liability shall not accrue prior to the day the State submits a request for
    funds.

    8.2.2 The State shall use the following method to calculate Federal interest liabilities:

    The Statewide Financial System shall track and document all Federal related receipt and disbursement transactions. The State maintains
    a daily summary reconciling Federal fund requests and subsequent receipt (the next business day) by federal agency. The reconciliation
    compares Federal funds deposited in a State account to amounts expected, as well as maintaining a record of any Federal funds
    requested not yet received to a State account.

    The Statewide Financial System shall maintain a report for each program identifying:

    1) The amount of the disbursement (as recorded on a voucher);

    2) The date the disbursement is charged;

    3) The date Federal funds are requested;

    4) The date and amount of Federal funds deposited in a State account; and

    5) The Federal percentage of the disbursement, if a Federal-State matching program.

    If applicable, the agency or OSC will document instances in which Federal monies were received later than expected for reasons other
    than the Treasury Offset Program.

    The Federal interest liability on a transaction will be based on the difference in whole days between the dollar-weighted average date of
    clearance of the disbursement (as measured by the clearance patterns set forth in Section 7.0 of this Agreement); and the date the related
    Federal funds are deposited in a State account. With Federal-State matching programs, interest will be calculated on the Federal portion
    of the disbursement.

    8.3 The Unemployment Trust Fund

    8.3.1 The State shall use the following method to calculate State interest liabilities on funds withdrawn from the several accounts
    in the Unemployment Trust Fund:

    At the end of each State fiscal year, based on statements provided by the State's contractor bank, the State shall determine the actual
    interest earnings and the related banking costs of its State Benefit Payment Account for the State fiscal year. If actual interest earnings
    exceed the banking costs attributable to such funds, the State will remit the difference to the Federal government as a State interest
    liability. If actual interest earnings are less than the related banking costs, the State will owe no State liability.

    8.4 Refund Liabilities

    8.4.1 The State shall be liable for interest on refunds from the date the refund is credited to a State account until the date the refund
    is debited from the State account for program purposes. The State shall apply a $50,000 refund transaction threshold below which
    the State shall not incur or calculate interest liabilities on refunds. A transaction is defined as a single deposit.

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    8.4.2 For each refund, the State shall maintain information identifying:
    (1) date a refund is credited to a State account
    (2) date of the subsequent deposit of Federal funds against which the refund is offset
    (3) amount of the refund

    8.4.3 The State shall use the following methodology to calculate interest liabilities on refunds:

    See 8.9

    8.5 Exemptions

    8.5.1 Where more than one State agency is a recipient of Federal funds under a program, a particular State agency's funding may be
    excluded from interest calculation procedures if the State agency receives an amount of funds less than 5
    % of the State's threshold for major Federal assistance programs. Notwithstanding this potential exemption, however, in no case
    shall less than 90% of a program's total funding be subject to interest calculation procedures.

    Proration of calculations: If less than total program funding is subject to interest calculation procedures, the resulting interest
    liability calculations shall be prorated to 100% of program funding.

    8.6 State Interest Liabilities

    8.6.1 The State shall be liable for interest on Federal funds from the date Federal funds are credited to a State account until the
    date those funds are paid out for program purposes.

    8.6.2 The State shall use the following method to calculate State interest liabilities on Federal funds:

    8.6.2.1 Measuring Time Funds Are Held

    To determine the total time Federal funds are held, the State shall measure the time between the date Federal funds are received and
    credit to a State's account and the date those funds are debited from the State's account.

    8.6.2.2 Source of Data

    The Office of the State Comptroller produces an annual report of "Disbursements by Federal Index Number and Major
    Object." This report is the source document of the State's Schedule of Expenditures of Federal Awards and as such is
    subject to audit under the Single Audit Act.

    The component cash flows listed for each program in the Section 6.3.2 are derived from, and analogous to, selected
    major objects in the above report. Interest will be calculated by isolating the disbursements for each major object, or
    component cash flow, of a program.

    8.6.2.3 Standards Applied

    The average daily cash balance of Federal Funds in the program's account reflects the actual activity of each draw from the date of
    deposit to the date of issuance or clearance, whichever is pertinent.

    8.6.2.4 Calculation Procedure

    The State shall use the following formula to calculate interest on each component cash flow:
    I = [A x i x (CT - PIT)] / 365

    "I" represents the State interest liability for a major object or component cash flow.


    "A" represents the total amount of funds drawn/disbursed under the major object or component cash flow. It will be
    assumed that the amount of disbursements recorded is consistent with the amount of funds drawn to support those

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    disbursements.

    "i" represents the rate equal to the average of the bond equivalent rates of 13-week Treasury Bills auctioned during the
    State fiscal year.


    "CT" represents the clearance time for the major object, or the time from the day funds are disbursed as recorded in the
    Statewide Financial System and the when the funds are presented to the bank for payment. This period will be measured by
    the appropriate clearance pattern as set forth in Section 7.0 of this Agreement.


    "PIT" represents the time from the day funds are disbursed as requested in the Statewide Financial System to the day funds in
    support of those disbursements are deposited in a State account by major object. For each major object under a given program,
    this period is fixed.

    To determine the total State interest liability for a program, the State shall add the interest liabilities of each component
    cash flow under the program.

    Journal voucher transactions, which are internal payments from one State agency to another, are a separate category and
    will be excluded from the interest calculation since these are interest-neutral.

    8.7.0     Interest on Employee Fringe Benefits and Indirect Costs:

              The State and the Secretary agree that no interest liabilities will be incurred or calculated for employee fringe
              benefits or indirect costs, with one exception. If the State requests funds in accordance with the funding techniques
              for employee fringe benefits or indirect costs set forth in Section 6.2.4, and Federal funds are not made available to
              the State, the Federal Government shall incur an interest liability. The Federal interest liability will accrue from the
              day the State requested funds in accordance with the agreed upon funding techniques to the day Federal funds are
              credited to a State account.
    8.8.0     The State shall use the following methodology to calculate interest liabilities on refunds:
    8.8.1     With the exception of the Special Supplemental Nutrition Program for Women, Infants and Children (CFDA
              10.557), Unemployment Insurance (CFDA 17.225), Highway Planning and Construction (CFDA 20.205) and
              Medical Assistance (CFDA 93.778) programs, the State shall use the following method to calculate interest on
              refunds for which the Federal share, as identified in the Statewide Financial System, reflects a gross transaction
              threshold of $50,000 or above.

              Interest will be calculated on each refund credited to a Federal fund, as recorded in the Statewide Financial
              System, for which the Federal share reflects a gross transaction threshold of $50,000 or above. The Federal share
              of refunds by Federal program will be identified through review of a report produced by the Office of the State
              Comptroller. This is a unique report run through a select transaction analysis from the Statewide Financial System.
              The report identifies all Federal refunds by Federal program and shall be summarized by program for only those
              refunds that reflect the gross transaction threshold of $50,000 or above.

              For each program, the State interest liability will be calculated by multiplying the total amount of refunds of
              Federal funds by the average length of time required for a refund to be offset against a subsequent deposit of
              Federal funds. Interest on the Federal portion of the refund from the day it is offset against a deposit of Federal
              funds to the day it is paid out for program purposes will be captured under the State's method for calculating
              interest under Post-Issuance Funding, set forth in Section 8.6 of this Agreement, whereby interest will be
              calculated based on totals disbursed, including refunds.

              The average time required for the Federal percentage of refunds to be offset against a subsequent deposit of
              Federal funds comprises two periods: 1) the estimated average number of days a State agency holds cash refunds
              before depositing them in the appropriate Federal fund (see next paragraph), and 2) the estimated average number
              of days the State holds the refunds in the Federal fund before offsetting them against a deposit of Federal funds.

              Pursuant to State statute, the Office of the State Comptroller has instructed State agencies to return all refunds to
              the appropriate Federal fund at least semi-monthly. State agencies which do not remit the original refund check to
              the State Treasury will have to account for the time that they hold the refund, when interest is calculated on
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              refunds for their Federal programs subject to the Act. State agencies which remit original refund checks to the
              State Treasury do not hold refunds and therefore will not have to account for this when interest is calculated on
              refunds for their Federal programs subject to the Act.

              For each program, the State shall estimate the average number of days that refunds are held in a Federal fund
              before being offset by 1) calculating the average number of days between drawdowns by dividing 365 by the total
              number of drawdowns during the fiscal year, and 2) dividing the average number of days between drawdowns by
              2, on the assumption that refunds are deposited in the Federal fund at the midpoint of the average drawdown cycle.

              The State shall use the following formula to calculate interest on the Federal percentage of refunds which reflect a
              gross transaction threshold of $50,000 or above:

              I = R x (i/365) x {AD + [(365/D)/2]}

              "I" represents the State interest liability for the Federal percentage of refunds.

              "R" represents the sum of the Federal share of all refunds.

              "i" represents the rate equal to the average of the bond equivalent rates of the 13-week Treasury Bills auctioned
              during the State's fiscal year.

              "AD" represents the agency delay (7.5 calendar days) in submitting refunds to the appropriate Federal fund, as
              described above.

              "D" represents the total number of drawdowns during the State Fiscal Year, as described above.
    8.8.2     Refunds: Average Daily Balance Interest Calculation Method

              Refunds and rebates for the Medical Assistance Program (CFDA 93.778) will be tracked by program.

              Since refunds and rebates for the Medical Assistance program are initially deposited into a segregated Comptroller
              booking account, the State's interest liability for the Federal percentage of such refunds will be based on two
              factors: 1) the average daily balance of the Comptroller booking account, and 2) the average number of days
              required for the refunds/rebates to be offset against a deposit of Federal funds after the refunds/rebates are
              transferred out of the booking account. For Medical Assistance program refunds deposited into a New York State
              bank account other than the State's General Checking Account, the State's interest liability for the Federal
              percentage of such refunds will be calculated on the average daily available balance in the account.

              Refunds: Unemployment Insurance Program (CFDA 17.225):

              UI Benefit Refunds for the Unemployment Insurance Program are deposited into the UI Benefit Account, then
              transferred to the States account in the Unemployment Trust Fund the same day. This transfer is interest-neutral
              and not subject to interest calculations under the Act.

              Refunds: Highway Planning and Construction (CFDA 20.205)

              Contract Overpayments: Refunds as a result of contract overpayments will normally result in no interest liability as
              credit is given to the Federal Highway Administration on a current bill before the State receives a check for an
              overpayment.

              Rental of State-Owned Property or Sale of Property: Checks received for Rentals of State-Owned Property or Sale
              of Property acquired with Federal Highway Funds are considered to be program income and are not subject to the
              interest provisions of the Act.

              Refunds: Special Supplemental Nutrition Program for Women, Infants, and Children (CFDA 10.557)

              For each day's deposit, the Department of Health shall track and document refunds, and shall maintain a record
              identifying: 1) the date funds are credited to a State account, 2) the amount of the refund, 3) the Federal portion of
              the refund, and 4) a) the date of the subsequent deposit of Federal funds against which the refund is offset, b) the
              date the refund is credited to a Federal Government account, or c) the date the refund is paid out for program
              purposes.


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              The State's interest liability will be based on the difference in whole days between the date the refund is credited to
              a State account and the date the Federal portion of the refund is credited to a Federal Government account or paid
              out for program purposes.

   9.0 REVERSE FLOW PROGRAMS

   The State is not required to cover any reverse flow programs under the terms of this Agreement because the State does not
   participate in the program.

   10.0    INTEREST CALCULATION COSTS

    10.1    As set forth in 31 CFR 205.27, interest calculation costs are defined as those costs necessary for the actual calculation of
     interest, including the cost of developing and maintaining clearance patterns in support of the interest calculations. Interest
     calculation costs do not include expenses for normal disbursing services, such as processing of checks or maintaining records for
     accounting and reconciliation of cash balances, or expenses for upgrading or modernizing accounting systems. Interest
     calculation costs in excess of $50,000 in any year are not eligible for reimbursement, unless the State provides justification with
     the annual report.

    10.2 The State expects to incur the following types of interest calculation costs:

    1) Personal service for State staff devoted to those tasks at both central control and program agencies

    2) Banking services relating to clearance pattern development

    3) Computer programming time at various State agencies

    4) Advisory services provided by a firm, such as a certified public accounting firm, to staff from the Office of the State Comptroller, the
    Division of the Budget, certain state agencies and banks, in conjunction with the development of check clearance patterns, interest
    calculation methodologies, the annual report, and the interest calculation cost claim required or authorized under the Act and this
    Agreement

    10.3 The State shall submit all claims for reimbursement of interest calculation costs with its Annual Report in accordance with 31
    CFR 205.

   11.0    NON-COMPLIANCE

    11.1 The provisions of 31 CFR Part 205.29 and 31 CFR Part 205.30 shall apply in cases of non-compliance with the terms of
    this Agreement.




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   12.0    AUTHORIZED SIGNATURES


   James Dewan
   Chief Budget Examiner General Government and Workforce Unit of the Division of the Budget


                                                                                   4/4/2023
    Signature:                                                    Date Signed:

   Date Submitted 3/31/2023

    Sandra R. Paylor
    Assistant Commissioner
    Revenue Collections Management
    Bureau of the Fiscal Service
    U.S. Department of the Treasury


                                                                                    4/6/2023
    Signature:                                                    Date Signed:




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                            Exhibit I - Funds Request and Receipt Times Schedule
                                                    State of New York
      Federal Agency                                 Payment Type   Request Cut-Off Time       Receipt Window
      Agriculture-FNS                                ACH            11:59 PM                   1 day
      Agriculture-FNS                                Fedwire        5:45 PM                    0 day
      Agriculture-FS                                 ACH            3:00 PM                    1 day
      Air National Guard                             ACH            12:00 PM                   15 days
      Army National Guard                            ACH            12:00 PM                   15 days
      Commerce-NOAA                                  ACH            2:00 PM                    1 day
      Dept of Homeland Security (FEMA)               Fedwire        2:00 PM                    2 days
      Dept of Homeland Security (ODP)                ACH            2:00 PM                    2 days
      Dept of Homeland Security (ODP)                Fedwire        2:00 PM                    2 days
      EPA                                            ACH            2:00 PM                    2 days
      EPA                                            Fedwire        2:00 PM                    0 day
      Education                                      ACH            3:00 PM                    1 day
      Education                                      Fedwire        2:00 PM                    0 day
      Energy                                         ACH            4:00 PM                    1 day
      Energy                                         Fedwire        3:00 PM                    0 day
      HHS                                            ACH            5:00 PM                    1 day
      HHS                                            Fedwire        3:00 PM                    0 day
      HUD                                            ACH            5:30 PM                    2 days
      HUD                                            Fedwire        3:00 PM                    0 day
      Interior-FWS                                   ACH            11:59 PM                   1 day
      Interior-FWS                                   Fedwire        5:45 PM                    0 day
      Interior-OSM                                   ACH            3:00 PM                    1 day
      Interior-OSM                                   Fedwire        1:00 PM                    0 day
      Justice                                        ACH            11:00 PM                   6 days
      Justice                                        Fedwire        2:00 PM                    2 days
      Labor-Non-UTF                                  ACH            3:00 PM                    1 day
      Labor-UTF                                      ACH            3:00 PM                    1 day
      Labor-UTF                                      Fedwire        3:00 PM                    0 day
      National Science Foundation (NSF)              ACH            8:00 PM                    1 day
      National Science Foundation (NSF)              Fedwire        5:45 PM                    0 day
      Social Security Administration                 ACH            11:59 PM                   1 day
      Social Security Administration                 Fedwire        5:45 PM                    0 day
      Transportation (FAA)                           ACH            2:00 PM                    1 day
      Transportation (FHWA)                          ACH            12:00 PM                   3 days
      Transportation (FHWA)                          Fedwire        12:00 PM                   0 day
      Transportation (FTA)                           ACH            2:00 PM                    1 day
      Veterans Administration                        ACH            12:00 PM                   3 days




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                                                          #: 8397
                             Exhibit II - State of New York
                          LIST OF STATE CLEARANCE TIMES
                    (Rounded Dollar-Weighted Average Day of Clearance)
    Clearance Times Where the Timing of A Draw Down Is Based on A Clearance Pattern

      CFDA        Program Name                 Recipient       %          Component              Technique      Rounded
                                                                                                                 days

      10.542     Pandemic EBT            Office of           100.0   Non-Payroll           Actual Clearance,   0 Days
                 Food Benefits           Temporary &                                       ZBA - Same Day
                                         Disability
                                         Assistance                                        Payment

      10.551     Supplemental            Office of           100.0   Non-Payroll           Actual Clearance,   0 Days
                 Nutrition               Temporary &                                       ZBA - Same Day
                 Assistance              Disability
                 Program                 Assistance                                        Payment

      10.555     National School         State Education     91.0    Non-Payroll           Actual Clearance,   2 Days
                 Lunch Program           Department                                        ZBA - ACH
                 National School         Department of       9.0     Non-Payroll           Actual Clearance,   2 Days
                 Lunch Program           Health                                            ZBA - ACH

      10.557     Special                 Department of       96.0    Non-payroll           Actual Clearance,   2 Days
                 Supplemental            Health                                            ZBA - ACH
                 Nutrition Program
                 for Women,
                 Infants, and
                 Children
                 Special                 Department of       2.0     Payroll               Actual Clearance,   2 Days
                 Supplemental            Health                                            ZBA - ACH
                 Nutrition Program
                 for Women,
                 Infants, and
                 Children
                 Special                 Department of       2.0     Fringe Benefits and   Reimbursement       N/A
                 Supplemental            Health                      Indirect Costs        (Employee Fringe
                 Nutrition Program
                 for Women,                                                                Benefits and
                 Infants, and                                                              Indirect Costs)
                 Children

      10.561     State                   Office of           94.0    Non-payroll           Actual Clearance,   2 Days
                 Administrative          Temporary &                                       ZBA - ACH
                 Matching Grants         Disability
                 for the                 Assistance
                 Supplemental
                 Nutrition
                 Assistance
                 Program
                 State                   Office of           2.0     Fringe Benefits and   Reimbursement       N/A
                 Administrative          Temporary &                 Indirect Costs        (Employee Fringe
                 Matching Grants         Disability
                 for the                 Assistance                                        Benefits and
                 Supplemental                                                              Indirect Costs)
                 Nutrition
                 Assistance
                 Program
                 State                   Office of           3.0     Payroll               Actual Clearance,   2 Days
                 Administrative          Temporary &                                       ZBA - ACH
                 Matching Grants         Disability
                 for the                 Assistance
                 Supplemental
                 Nutrition
                 Assistance
                 Program

                                                                                                                Page 21 of 26
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                                                          #: 8398
                 State                   Department of       1.0     Non-payroll           Actual Clearance,   2 Days
                 Administrative          Health                                            ZBA - ACH
                 Matching Grants
                 for the
                 Supplemental
                 Nutrition
                 Assistance
                 Program

      17.225     Unemployment            Department of       0.0     Fringe Benefits and   Reimbursement       N/A
      F          Insurance --            Labor                       Indirect Costs        (Employee Fringe
                 Federal Benefit
                 Account and                                                               Benefits and
                 Administrative                                                            Indirect Costs)
                 Costs
                 Unemployment            Department of       99.0    Non-Payroll           Actual Clearance,   0 Days
                 Insurance --            Labor                       (Benefits)            ZBA - Same Day
                 Federal Benefit
                 Account and                                                               Payment
                 Administrative
                 Costs
                 Unemployment            Department of       1.0     Non-Payroll           Actual Clearance,   2 Days
                 Insurance --            Labor                       (Administrative)      ZBA - ACH
                 Federal Benefit
                 Account and
                 Administrative
                 Costs
                 Unemployment            Department of       0.0     Payroll               Actual Clearance,   2 Days
                 Insurance --            Labor                                             ZBA - ACH
                 Federal Benefit
                 Account and
                 Administrative
                 Costs

      17.225     Unemployment            Department of       100.0   Non-Payroll           Actual Clearance,   0 Days
      S          Insurance -- State      Labor                                             ZBA - Same Day
                 Benefit Account
                                                                                           Payment

      20.205     Highway Planning        Department of       92.0    Non-Payroll           Actual Clearance,   2 Days
                 and Construction        Transportation                                    ZBA - ACH
                 Highway Planning        Department of       3.0     Payroll               Actual Clearance,   2 Days
                 and Construction        Transportation                                    ZBA - ACH
                 Highway Planning        Department of       5.0     Fringe Benefits and   Reimbursement       N/A
                 and Construction        Transportation              Indirect Costs        (Employee Fringe
                                                                                           Benefits and
                                                                                           Indirect Costs)

      84.010     Title I Grants to       State Education     1.0     Payroll               Actual Clearance,   2 Days
                 Local Educational       Department                                        ZBA - ACH
                 Agencies
                 Title I Grants to       State Education     99.0    Non-Payroll           Actual Clearance,   2 Days
                 Local Educational       Department                                        ZBA - ACH
                 Agencies

      84.027     Special Education       State Education     2.0     Fringe Benefits and   Reimbursement       N/A
                 -- Grants to States     Department                  Indirect Costs        (Employee Fringe
                                                                                           Benefits and
                                                                                           Indirect Costs)
                 Special Education       State Education     2.0     Payroll               Actual Clearance,   2 Days
                 -- Grants to States     Department                                        ZBA - ACH
                 Special Education       State Education     96.0    Non-Payroll           Actual Clearance,   2 Days
                 -- Grants to States     Department                                        ZBA - ACH

      84.425     Education               State Education     100.0   Non-payroll           Actual Clearance,   2 Days
                 Stabilization Fund      Department                                        ZBA - ACH


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                                                               #: 8399
      93.558        Temporary                Office of                100.0     Non-Payroll              Actual Clearance,       2 Days
                    Assistance for           Temporary &                                                 ZBA - ACH
                    Needy Families           Disability
                                             Assistance

      93.568        Low-Income               Office of                94.0      Non-payroll              Actual Clearance,       2 Days
                    Home Energy              Temporary &                                                 ZBA - ACH
                    Assistance               Disability
                                             Assistance
                    Low-Income               Division of              6.0       Non-payroll              Actual Clearance,       2 Days
                    Home Energy              Housing and                                                 ZBA - ACH
                    Assistance               Community
                                             Renewal

      93.575        Child Care and           Office of                1.0       Fringe Benefits and      Reimbursement           N/A
                    Development              Children and                       Indirect Costs           (Employee Fringe
                    Block Grant              Family Services
                                                                                                         Benefits and
                                                                                                         Indirect Costs)
                    Child Care and           Office of                1.0       Payroll                  Actual Clearance,       2 Days
                    Development              Children and                                                ZBA - ACH
                    Block Grant              Family Services
                    Child Care and           Office of                98.0      Non-Payroll              Actual Clearance,       2 Days
                    Development              Children and                                                ZBA - ACH
                    Block Grant              Family Services

      93.658        Foster Care --           Office of                100.0     Non-payroll              Actual Clearance,       2 Days
                    Title IV-E               Children and                                                ZBA - ACH
                                             Family Services

      93.767        Children's Health        Department of            99.0      Non-Payroll              Actual Clearance,       2 Days
                    Insurance                Health                                                      ZBA - ACH
                    Program
                    Children's Health        Office of                1.0       Non-payroll              Actual Clearance,       2 Days
                    Insurance                Temporary &                                                 ZBA - ACH
                    Program                  Disability
                                             Assistance

      93.778        Medical                  Department of            100.0     Non-Payroll              Estimated Clearance     N/A
                    Assistance               Health
                    Program

      97.036        Disaster Grants -        Division of              100.0     Non-Payroll              Actual Clearance,       2 Days
                    Public Assistance        Homeland                                                    ZBA - ACH
                    (Presidentially          Security and
                    Declared                 Emergency
                    Disasters)               Services




    Certification

    I hereby certify that an authorized State official has certified at least every five years that the "Rounded Days of Clearance" listed

    in Exhibit 2 of this Treasury-State Agreement:

         1. Have been prepared in accordance with the standards provided in 31 CFR 205.20;

         2. Accurately represent the flow of Federal funds under the Federal assistance programs to which they apply;

         3. Reflect seasonal or other periodic variations in the clearance activities; and,

         4. Are auditable.

                             4/4/2023
    Date:

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                                                          #: 8400
                                    James DeWan
    Printed Name:


    Certifying Signature:

                     Chief Budget Examiner
    Title:




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                                                          #: 8401
             Cash Management Improvement Act - 2024 Treasury State Agreement
                                  State of New York
                                        Exhibit II Estimated Clearance

                                                                           Effective 04/01/2023 until 06/30/2024




    93.778 Medical Assistance Program


                 Day      % Cleared
             Day 1             0.0
             Day 2            0.21
             Day 3           11.26
             Day 4             0.0
             Day 5             0.0
             Day 6             0.0
             Day 7            0.01
             Day 8            0.01
             Day 9             0.0
             Day 10            0.0
             Day 11            0.0
             Day 12            0.0
             Day 13            0.0
             Day 14            0.0
             Day 15            0.0
             Day 16            0.0
             Day 17          88.23
             Day 18            0.0
             Day 19            0.0
             Day 20            0.0
             Day 21           0.07
             Day 22           0.08
             Day 23           0.04
             Day 24           0.03
             Day 25           0.02
             Day 26            0.0
             Day 27            0.0
             Day 28           0.02
             Day 29           0.01
             Day 30           0.01
             Day 31            0.0
             Total           100.0



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                                                               #: 8402


    Certification

    I hereby certify that the % Cleared listed in Exhibit II Estimated Clearance of this Treasury State Agreement:

         1. Has been prepared in accordance with the standards provided in 31 CFR 205.20;
         2. Accurately represents the flow of federal funds under the federal assistance programs to which they apply;
         3. Reflects seasonal or other periodic variations in the clearance activities;
         4. Is auditable; and,
         5. Has been certified as accurate by an authorized State Official.

                            3/31/2023
    Date:

                                    James Dematteo
    Printed Name:


    Certifying Signature:

                       Director MFM
    Title:




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